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           In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                           No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                           Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                              ORDER

        On April 18, 2005, plaintiff filed a Motion in Limine With Respect to Defendant’s
Contentions of Law That Are Barred by the Law of The Case Doctrine, document 321.
Defendant filed an opposition to plaintiff’s motion on April 28, 2005, document 328. In the
interest of justice, each party shall be permitted to fully set forth its legal and factual arguments
in both its pre-trial and post-trial briefs. There is no need to exclude or strike defendant’s
arguments because plaintiff will have an adequate opportunity to respond. In its response
plaintiff would be within its rights to argue that the law of the case precludes a finding in favor of
the Government on certain issues. Accordingly, plaintiff’s Motion in Limine With Respect to
Defendant’s Contentions of Law That Are Barred by the Law of The Case Doctrine is DENIED.

IT IS SO ORDERED.

                                                       s/ George W. Miller
                                                      GEORGE W. MILLER
                                                      Judge
